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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )         CASE NO.: 8:24-CR-211-TDC
                                                   )
HOAU-YAN WANG,                                     )
                                                   )
       Defendant.                                  )

      DEFENDANT HOAU-YAN WANG’S UNOPPOSED EMERGENCY MOTION
            FOR EXTENSION OF PRE-TRIAL MOTIONS DEADLINE

       Defendant Hoau-Yan Wang (“Dr. Wang”), by and through his undersigned counsel and

pursuant to Fed. R. Crim. P. 45(b)(1)(A), moves the Court for an extension of time to file pre-trial

motions, other than motions in limine, and in support respectfully states that:

           (1) Dr. Wang was arraigned on July 10, 2024. (Doc. 15).

           (2) At the arraignment, the deadline for filing pre-trial motions, other than motions in

limine, was set as August 7, 2024. (Doc. 20).

           (3) Counsel for Dr. Wang received the first round of post-indictment discovery

materials from the United States on July 30, 2024.

           (4) The following day, counsel for Dr. Wang filed an unopposed motion for a twenty-

one (21) day extension of the pre-trial motions deadline. (Doc. 29). Bases for the motion included:

               a. The first round production from the United States consists of over 2 million

                    Bates-labeled pages ("the Bates-Labeled Production"), along with a 1 TB hard

                    drive containing the images of two laptops and a 2 TB hard drive containing the

                    images of thirteen thumb drives, an iPad, an iCloud account, a hard drive, four

                    computer discs, and various other materials (“the Forensic Images”);
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               b. Given the volume of the discovery materials, counsel for Dr. Wang knew upon

                  receipt that it would be unlikely the materials would be imaged by a vendor and

                  accessible to Dr. Wang’s counsel for at least several days to one week; and

               c. Additional time would be required for Dr. Wang’s counsel to access and review

                  the discovery materials in order to determine whether to file and, if so, to

                  adequately prepare potential pre-trial motions.

           (5) On August 6, 2024, this Court granted Dr. Wang’s motion for an extension of time

to file pre-trial motions, extending the deadline to August 28, 2024. (Doc. 30).

           (6) Technical data processing of the Bates-Labeled Production began immediately

upon receipt. To date, that work has taken more than 360 hours, including:

               a. Approximately 92 hours of machine time to copy the Bates-Labeled Production

                  to an internal network location;

               b. Approximately 240 hours of machine time to stage the data from the Bates-

                  Labeled Production for uploading to a document review platform

                  (RelativityOne); and

               c. Approximately 30 hours of engineer time to perform quality control to ensure

                  the Bates-Labeled Production was loaded properly into the review platform,

                  index the workspace to ensure the data is searchable, analyze/quality control

                  test the data from the Bates-Labeled Production, and facilitate the machine-

                  based processes described above.

           (7) With respect to the Forensic Images, counsel has engaged an external forensics firm

to analyze that data and attempt to de-duplicate it against the Bates-Labeled Production. That

analysis is ongoing, but counsel is told that de-duplication efforts will be onerous, if not
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impossible, and that the data may more than double to over 4 million pages once the Forensic

Images have been fully analyzed.

           (8) The process of analyzing the Forensic Images will not be completed before the

current August 28, 2024 deadline to file pre-trial motions.

           (9) Moreover, on August 26, 2024, the United States informed counsel for Dr. Wang

that the United States would be sending counsel an additional three thumb drives of discovery

production to arrive the following day, which it did, on August 27, 2024. That production is also

voluminous, including more than 20,000 Bates-labeled pages and scoped copies of forensic images

of eight thumb drives.

           (10) Counsel for Dr. Wang has commenced and remains engaged in the initial technical

processing of the discovery received on August 27, 2024.

           (11) Given the volume of this second production of discovery material, the material

will not be imaged and accessible to Dr. Wang’s counsel until sometime after the current August

28, 2024 deadline to file pre-trial motions.

           (12) Moreover, on August 27, 2024, the United States’ filter team (“the Filter Team”)

informed Dr. Wang’s counsel that it was actively engaged in efforts to prepare and produce

additional material to Dr. Wang’s counsel. The Filter Team did not provide information to Dr.

Wang’s counsel enabling an understanding of the volume of this pending production.

           (13) Dr. Wang’s counsel needs additional time to access and review all of the discovery

materials (A) it has received from the United States to date and (B) will receive from the Filter

Team in the future. Those analyses are necessary for Dr. Wang’s counsel to determine whether to

file, and, if so, to adequately prepare, potential pre-trial motions, including but not limited to

possible motions regarding such discovery.
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           (14) Given the volume of discovery initially and just received and to be received from

the Filter Team, and the correlated complications of processing and analyzing that data in all of its

varying forms, an extension of sixty (60) days is requested, extending the deadline to October 28,

2024.

           (15) This request is made in good faith and not for the purpose of delay.

           (16) The ends of justice served by the continuance requested by Dr. Wang outweigh

the best interests of the public and Dr. Wang in a speedy trial because Dr. Wang’s counsel needs

adequate time with the discovery materials before advising Dr. Wang regarding his pre-trial

motion strategy options. See 18 U.S.C. § 3161(7)(A).

           (17) Counsel for Dr. Wang has conferred with counsel for the United States, who

consents to the requested extension.

        WHEREFORE, Defendant respectfully prays the Court issue an order, in substantially

similar form as is attached as Exhibit A, extending the time for pre-trial motions, other than

motions in limine, for sixty (60) days to October 28, 2024.



Dated: August 27, 2024                                Respectfully submitted,

                                                       /s/ Jennifer L. Beidel
                                                      Jennifer L. Beidel (Pro Hac Vice)
                                                      Mark Chutkow (Pro Hac Vice)
                                                      Joanne Zimolzak (19342)
                                                      Timothy Caprez (Pro Hac Vice)
                                                      Emma Blackwood (Pro Hac Vice)
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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 27th day of August, 2024, I filed the foregoing Unopposed

Motion for Extension of Pre-Trial Motions Deadline with the Clerk of the Court for the U.S.

District Court for the District of Maryland, using the Court’s CM/ECF system. The CM/ECF

system sent a “Notice of Electronic Filing” to all counsel of record who have entered an appearance

in this matter.



Dated: August 27, 2024                               Respectfully submitted,

                                                       /s/ Jennifer L. Beidel
                                                     Jennifer L. Beidel (Pro Hac Vice)
                                                     Mark Chutkow (Pro Hac Vice)
                                                     Joanne Zimolzak (19342)
                                                     Timothy Caprez (Pro Hac Vice)
                                                     Emma Blackwood (Pro Hac Vice)
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,                        )
                                                 )
v.                                               )          CASE NO.: 8:24-CR-211-TDC
                                                 )
HOAU-YAN WANG,                                   )
                                                 )
       Defendant.                                )

                                     PROPOSED ORDER

       This matter having come before the court on Defendant Dr. Hoau-Yan Wang’s Unopposed

Motion for Extension of Pre-Trial Motions Deadline, the Court, being duly advised, hereby

GRANTS the motion and ORDERS:

       (1) The deadline to file pre-trial motions, other than motions in limine, is extended to

October 28, 2024; and

       (2) The ends of justice served by the continuance requested by Dr. Wang outweigh the best

interests of the public and Dr. Wang in a speedy trial because Dr. Wang’s counsel needs adequate

time with the discovery materials before advising Dr. Wang regarding his pre-trial motion strategy

options. See 18 U.S.C. § 3161(7)(A).



So ORDERED on _________________.                            ____________________________
                                                            THEODORE D. CHUANG
                                                            United States District Judge
